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                                     ORDERED.

     Dated: May 16, 2019




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 IN RE:                                                         CASE NO.: 8:19-bk-03039-RCT
                                                                                CHAPTER 7
 Rodolfo Marin,
          Debtor.
 _________________________________/

              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on HSBC Bank USA, National
Association as Trustee for Structured Adjustable Rate Mortgage Loan Trust, Mortgage
Pass-Through Certificates, Series 2007-9’s (“Secured Creditor”) Motion for Relief from Stay
(Docket No. 19). No appropriate response has been filed in accordance with Local Rule 2002-4.
Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 6987 74th St Cir E Bradenton, FL 34203 in


                                              1
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       Manatee County, Florida, and legally described as:
       LOT 185, RIVER PLACE, A SUBDIVISION, ACCORDING TO THE PLAT
       THEREOF AS RECORDED IN PLAT BOOK 42, PAGES 173 THRU 198, OF THE
       PUBLIC RECORDS OF MANATEE COUNTY, FLORIDA.

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.}
   7. This Court makes no determination that the Debtor has defaulted on the underlying
       obligation.


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Attorney, Christopher P. Salamone, is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.




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